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                           IN THE UNITED STATES DISTRICT COURT                         fFILED
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION                               ,MAR 3 0202Z
                                                                                   U. S. DISTRICT COURf
 UNITED STATES OF AMERICA,                          )                            EASTERN DISTRICT Qf MO
                                                   ,)                                     ST. LOUIS -
             Plaintiff,                             )
                                                    )
 v.                                                 )
                                                    )
                                                         4:22CR175 HEA/DDN
 BRIAN KO WERT, SR.,                                )
                                                    )
             Defendant.                             )

                                        INDICTMENT
                                . COUNTS ONE THROUGH FIVE
                                        WIRE FRAUD

             THE GRAND JURY CHARGES:

 A.   INTRODUCTION

        At all times relevant to the Indictment:

        1.        The defendant, BRIAN KOWERT, SR. (hereinafterreferred to as "KOWERT"),

 was an owner and Chief Operating Officer of HBD Construction, Inc., a general contracting,

. construction management and development company in St. Louis, Miss011ri. . HBD Construction,

 Inc. merged with Russell during 2020, and continued to operate as RussellHBD.          (Both HBD
              '                                                        '

 Construction, Inc. and RussellHBD are hereinafter referred to as "HBD"). KOWERT served as

 the Project Manager on numerous HBD construction projects, and was responsibl~ for the hiring

 of subcontractors on those various projects, including Minority Business Enterprise (hereinafter

 referred to as "MBE") companies. _· ,

        2.        The City of St. Louis, Missouri and the State of Missouri established participation

 goals and requirements for the hiring of qualified MBE contractdrs and subcontractors on contracts

 which involved city or state funding and/or tax subsidies.     These MBE requirements sought to

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 address historical social and economic disadvantages experienced by minority group members to
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reduce minority-based barriers to and foster participation by minority owned businesses in the City

 and State contract opportuni.ties.   Numerous private companies and o~ganizations also established

participation goals for the hiring of qualified MBE contractors and subcontractors.

        3.       Grea~r Goods, LLC (hereinafter referred to as "Greater Goods") was a company
                                      ,.

which sells and distributes various kitchen and home, fitness, and health and wellness products,

 donating a portion of the sales price of each item to varim;is charitable organizations.    During in

 or about 2017, Greater Goods determined to move its headquarters and offices from St. Louis

 County to a locafam in the City of St. Louis.         Greater Goods contracted with HBD for the

 renovation and redevelopment of the building it purchased on Chouteau Avenue in the City of St.

Louis, and KOWERT was the Project Manager on the redevelopment project.

        4.       RAGA was a full-service, vertically integrated real estate developer with its

headquarters and offices located in Springfield, Missouri.     During 2021, RAGA finalized plans

 for the development and construction of a senior citizen multifamily apartment building known as ·

Logan Vil\as and located in Raytown, Missouri.          During October, 2021, RAGA, through an
                                                                                             1



affiliated entity Logan Villas, LP, contracted with HBD to serve as the general contractor for the

 construction of Log~ Villas.     KO WERT was the Project Manager for the construction project.

        5. .    ·Quadrangle Housing Company (hereinafter referred to as "Q~adrangle") was a

property management company affiliated with Washington University in St. Louis.             Quadrangle
                                              '
owned and maintained a number of residential properties for rent primarily throughout the area

near Washington University's main Danforth campus., During November, 2014, Quadrangle

·contracted with HBD for the renovation and redevelopment of apartment buildings on Kingsbury

 and Washington Avenues in University City, Missouri.        On behalf of HBD, KOWERT signed

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the contract with Quadrangle; and also serVed as the Project Manager on the renovation and

redevelopment project.

B.        SCHEME TO DEFRAUD

          6.       Beginning during in or about f.fovember, 2014, and continuing through in or about

January, 2022 in the Eastern District of Missouri and elsewhere, defendant,

                                       BRIAN KOWERT, SR.,
      \

devised, intended to devise, and knowingly participated in a scheme to defraud and obtain money

from companies engaged in development, redevelopment, and construction projects, and local,            ,

state and federal government agencies which provided construction fun'<ling and tax subsidies, by

means of materially false and ~audulent pretenses, representations, and promises.

QUADRANGLE PROJECT

          7.        Pursuant to its 2014 contract with HBD, Quadrangle required HBD to strive to

achieve a minimum 20% MBE parti9ipation in the renovation and redevelopment project, and to
                                        '
provide periodic reports detailing the MBE particip~tion to Quadrangle.
               '                                       '

          8.       KOWERT, on behalf of HBD and as project manager, entered into subcontracts
                                        1




and/or purchase orders with a,number of non-MBE companies for the supply of materials on the

Quadrangle project.

      . 9.          It was a part of the scheme that, during in or about December, 2014, KOWERT

reached an agreement with C.K., tI;.e owner of a certified MBE company, whereby C.K. agreed to

have his MBE company identified and listed as having provided materials on the Quadrangle

project in exchange for a $2,500 fee from HBD.         The materials purported to have been provided
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by C.K.'s MBE company were actually the materials provided by a number of-the non-MBE

companies which had actual subcontracts and/or purchase orders with HBD:            C.K.'s company

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 provided no materials on the Quadrangle project, and C.K. had no contact with the non-MBE
  I

 companies which actually provided the materials on the prpject.

        I 0.     It was a further part of-the scheme, and in order to conceal the scheme, that

KOWERT directed HBD checks to be written to C.K.'s company for the materials provided by

the non-MBE companies, and those checks were recorded in the books and records of HBD as

 having been 1ssued to C.K.'s company.   KO WERT then directed that the names of the non-MBE

companies which had actually provided the materials be typed above C.K.'s company's name on

those checks.   KOWERT then had C.K. sign and endorse-the backs of those checks and the

checks were then distributed to the non-MBE companies for payment of their materials provided

on the Quadrangle project.     From January, 2015 through March, 2016, KOWERT directed

approximately twenty-seven checks to be written to C.K. 's company and then distributed to the

non-MBE companies in this manner, totaling approximately in excess of$340,000.00.

        I 1.      It was a further part of the scheme, that on or about September 30, 2015,

KOWERT and HBD submitted a false report to Quadrangle, falsely identifying C.K.'s MBE

company as having provided approximately $345,113 in materials on the project,·when in fact,

those materials had been provided by non-MBE companies.            The materials which KOWERT

and HBD falsely attributed to C.K.'s MBE company totaled approximately 63% of the total MBE

labor and materials identified in that false report.    Quadrangle and its employees had no

knowledge of KOWERT's fraudulent scheme.

GREATER GOODS PROJECT

        12.     On or about July 18, 2017, the City of St. Louis enacted Ordinance number 70583,

approving IO years of Tax Abatement fo; the Greater Goods Chouteau Avenue r~devefopment.

The Ordinance required that the redevelopment project " ... be bound by the conditions and

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 procedures regarding the utilization of MBE's ... established by the City."      The City required a

minimum 25% participation by MBEs in the redevelopment project in order to be eligible for Tax
                                                                      '
 Abatement, a fact known by KOWERT and HBD when it contracted, on or about August 9,.2018,

 with Greater Goods to redevelop the Chouteau Avenue building.

         13.        Construction on the Greater Goods redevelopment project began on or about

 October 1, 2018, and was completed on or about December 23, 2020.          Among a number of other

 companies which supplied labor and materials on the redevelopment project, three non-MBE

 certified .companies provided custom cabinets and appliances; doors, door frames and hardware,

 and steel :i;ailings and stairs.   HBD entered into contracts and/or purchase orders with these three

 companies
      '
           for their
                 .
                     labor and supplies on the Greater Goods redevelopment project.           None of

 these three companies was an MBE.
                                                                                                         \

         14.        It was a part of the scheme that, during in or about April, 2020, KOWERT again

 reached an agreement with C.K., the owner of a c~rtified MBE company, whereby C.K. agreed to

 have his 'M,BE company identified and listed as having performed work and supplied materials on

 the Greater Goods redevelopment project in exchange for a fee from HBD.               The work and

 materials purported to have been provided by C.K.'s MBE company was actually the work

 performed and materials provided by the three non-MBE companies.

         15.        As a further part of the scheme, and in order to conceal his scheme, on or about

 April 20, 2020, KO~RT issued duplicate I-IBD subcontracts to C.K. 's :ryIBE company for the

 work performed ·and materials provided on the Greater Goods redevelopment project by two of the

 non-MBE companies.          Further, KOWERT issued a duplicate HBD purchase· order to C.K.'s
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 MBE company for the materials provided on the Greater Goods redevelopment project by the third
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 non-MBE company.

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            16.       As a further p1art of the scheme, on or about June 22,2020, KOWERT submitted

 a false chart of projected costs for the Greater Goods redevelopment project to the St. Louis
                                                                                      )

 Development Corporation, the City Agency charged with reviewing, approving and

 recommending Tax Abatements in the City of St. Louis.            The chart falsely listed C.K.'s MBE/
 I
 company as providing labor and materials valued at approximately $198,000 on the redevelopment

 project.         The chart falsely omitted the three non-MBE companies from the Greater Goods

 redevelopmeilt project when, in fact, those companies provided the labor and materials falsely
                                  1
 attributed by KOWERT to C.K.'s MBE company.

            17.       As a further part of the scheme, beginning on or about August 4, 2020,

 KOWERT caused HBD checks to be issued to C.K.'s MBE company for the value of work

 performed and materials provided by the three non-MBE companies on the Greater Goods
                          I                          '                                               ,
 redevelopment project.           C.K. deposited those HBD checks into his MBE company bank account.

 As directed by KO WERT, C.K. then issued checks from his MBE company bank acc,ount to those
                              \
 three non-MBE companies for the work performed and materials provided by those companies on

 the Greater Goods redevelopment project.          C.K. was paid approximately $2,000 by KOWERT

 and HBD for serving as a "pass through" and "exchanging'' 'the checks.           C.K. and his MBE

·company performed no actual work and provided no actual materials for the Greater Goods

 redevelopment project.           C.K. and his MBE company had no actual contact with the three non-

 MBE companies on the Greater Goods redevelopment project.                 As a part of the scheme,
                              \
 KOWERT and C.K. "exchanged" approximately fourteen checks in the approximate amount of

 $220,000.

            18.      During this period of time, KO WERT was fully aware that St. Louis· Development

 Corporation guidelines, incorporated in the City Ordinance allowing for the Greater Goods tax

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 abatement, required that an MBE -company "perform a commercially useful :function."

KOWERT was fully aware that the guidelines provided that, "an MBE does not perform a

 commercially useful function if its role is limited to that of an extra participant in a transaction,

contract, or project through which funds are passed in order to obtain the appearan9e of MBE

participation."     Thus, KOWERT was aware that his agreement with C.K. violated_ the City's

published MBE guidelines.

           19.    As a further part of the scheme, between in or about May, 2021 and November,

2021, KO WERT and HBD caused a false application for Tax Abatement on behalf of Greater
                                                               I
                                                                                                         ·."
Goods for the Chouteau A venue redevelopment project to be submitted to the City of St. Louis

Development Corporation.        The application falsely represented that C.K. 's MBE company had

performed the work and provided the materials on the Greater Goods redevelopment project which

was actually work Pfrformed and materials provided by the three non-MBE companies.

KO WERT and HBD falsely attributed approximately $224,361.55 in_project costs to C.~.'s MBE

company, which comprised approximately 6 ½% of the required 25% MBE participation in the

project.     In the application, KOWERT and HBD falsely omitted the three non-MBE companies

fh?m the list of companies which had provided materials and performed work on the Greater Goods

redevelopment project.      Greater Goods and its employees had no knowledge of KOWERT's

fraudulent scheme.

LOGAN VILLAS PROJECT

        20. ·     RAGA and its affiliate, Logan Villas LP, obtained funding for the Logan Villas

development through the Missouri Housing Development Commission_ (hereinafter referred to as

"MHDC").         As part of its MBE Initiative, on each project it funded, including Logan Villas,

MHDC required minimum MBE participation of 10% of the actual physical costs of construction,

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 and 10% of the soft costs of the project, for such things as planning costs and fees for the

 architectural;legal and accounting portions of the project.   MHDC also required coTI?-pliance with

 Section 3 of the Housing and Urban Development Act of 1968, which required a general contractor

 and its subcontractors to provide employment to low-income persons on any construction projects.

 KOWERT and HBO were aware of these MHDC requirements on the Logan Villas project.

        21.       KOWERT and HBD began entering into subcontracts and purch~se orders for

 labor and materials for the Logan Villas project during June, 2021.      Among a number of other

 companies which were contracted with to sup~ly labor or materials on the project, KOWERT, on

behalf of HBD, entered into subcontracts or purchase orders with three' non-MBE companies for

kitchen cabinets and bathroom vanities, doors, frames, and door hardware,· and appliances.
              -
None of these three companies was an MBE or a certified Section 3 company.
                                                                      I

        22.       It was a part of the scheme that, during in or about October, 2021, KOWERT

reached an agreement with C.R., the owner of a certified MBE and Section 3 company, whereby

 C.R. agreed to have his company identified and listed as a subcontractor to perform work and

 supply materials on the Logan Villas development project in exchange for a fee from HBD.       The
                                                                  I
work and materials purported to be provided by C.R.'s company was actually the work to be

performed and materials to be provided by the three non-MBE Section: 3 companies.

        23.       As a further part ofthe scheme, and in order to conceal his.l,cheme, on or about

 October 26, 2021, KOWERT caused subcontracts and purchase orders to. be prepared, on the

letterhead of C.R.'s company, between C.R.'s company and the three non-MBE Section 3

companies, for the work and materials to be provided on the Logan Villas project.      These were,

in essence, duplicates of the subcontracts and purchase orders those companies had previously,

 executed directly with HBD.

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       24.     As a further part of the scheme, on or about December 20, 2021, KOWERT

 submitted a "Contractor and Subcontractor Summary" to RAGA which falsely listed C.R. 's

MBE/Section 3 company as providing labor and materials'valued at approximately $333,858.28

on the redevelopment project.       The chart falsely omitted the three non-MBE companies from the

Logan Villas development project when, in fact, those companies were to provide the labor and

materials falsely attributed by.KOWERT to C.R.'s MBE/Section 3 company.               RAGA·then

unwittingly submitted KOWERT's false "Contractor and Subcontractor Summary" to MHDC on

or about January 4, 2022.

       25.     As a further part of the scheme, and in order to convince the three non-MBE
                                \

companies to work on the Logan Villas project under the duplicate subcontracts and purchase

orders with C.R.'s company, KOWERT advised representatives of those companies that HBD

would ultimately be the company paying them, not C.R.'s company.

       26.     C.R. had no direct contact with any representatives of the three non-MBE

companies.   C.R. was not involved in the purchase of any materials for the Logan Villas project,

and was not to be involved in providing any labor on the project.    C.R.'s company was simply a

~'pass through" for the funds to be paid to those non-MBE companies in order for KOWERT and

HBD to falsely inflate and represent that there was sufficient MBE and Section 3 participation in

the Logan Villas project to meet MHDC requirements.        RAGA and Logan Villas, LLP, and thfir
                                                                                               '
employees, had no knowledge of KOWERT's fraudulent scheme.

C. THEWIRES

COUNT ONE

       27.     On or about June 22, 2020, within the Eastern District of Miss9uri and elsewhere,

for the purpose of executing and attempting to execute the above-described scheme to defraud and
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 to obtain money and property by means of false and fraudulent pretenses and representations, the

 defendant did knowingly cause to be transmitted by means of wire communication in and affecting/

 interstate commerce, certain writings, signs, and signals, including a false chart of projected costs

 for the Greater Goods redevelopment project sent by email via the internet to the St. Louis

 Development Corporation.

 COUNTTWO

        28.     On or about May 17, 2021, within the Eastern District of Missouri and elsewhere,

 for the purpose of executing and attempting to execute the above-described scheme to defraud and

 to obtain money and property by means of false and fraudulent pretenses and representations, the

 defendant did knowingly cause to be transmitted by means of wire communication in and affecting

 interstate commerce, certain writings, signs, and signals, including false compliance documents in

 support of Greater Goods' application for Tax Abatement via the internet to the St. Louis
                                                               /
 Development Corporation.;

 COUNT THREE

        29.     On or about November 1, 2021, within the Eastern District of Missouri 8:Ild

 elsewhere, for the purpose of executing and attempting to execute the above-described scheme to

 defraud and to obtain money and property by means of false and fraudulent pretenses and
                                    \
 representations, the defendant did knowingly cause to be transmitted by means of wire

 communication in and affecting interstate commerce, certain writings, signs, and signals, including

 a duplicate purchase order between JB Distributing and C.R.' s company on the Logan Villas

 project, sent by email via the internet from HBD to JB Distributing.




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    COUNTFOUR

           30.     On or about November 1, 2021, within the Eastern District of Missouri and

    elsewhere, for the purpose of executing and attempting to execute the above-described scheme to

    defraud and to obtain money and property\ by means of false and fraudulent pretenses and

    representations, the defendant', did knowingly cause to be transmitted by means of wire

    communication in and affecting interstate commerce, certain writings, signs, and signals, including
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    a duplicate subcontract between Metro Applianc~s and More and C.R.' s company sent by email

    via the internet from HBD to Metro Appliances and More.
                         /

    COUNT FIVE

           31.      On or about January 4, 2022, within the Eastern District of Missouri and

    elsewhere, for the purpose of executing and attempting to execute the above-described scheme to
                                                                                  I   L

    defraud and to obtain money and property by means of false and fraudulent pretenses and
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    representations, the defendant did kn0wingly cause to be transmitted by means of wire

    communication in and affecting interstate commerce, certain writings, signs, and signals, including

    a false "Form 2502 Contractor and Subcontractor Summary" for the Logan Villas development,

    which falsely listed C.R.' s company as providing labor and materials as an MBE and Section 3

    subcontractor in the amount of approximately $333,858.28 sent by email via the internet from

    Baron Design and Associates to the Missouri Housing Development Commission.

           All in violation of Title 18, United States Code, Sections 2, 1343, and 1349.
                                                                           )
                                                                           ;




                                    FORFEITURE ALLEGATION

    The Grand Jury further alleges there is probable cause that:

           1.      Pursuant to Title 18, United States Code, Sections 981(a)(l)(C) and Title 28, United

    States Code, Section 2461, upon conviction of an offense in violation of Title 18, United States

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       ..
     Code, Section 1343 as set forth in Counts 1 through 5, the defendant shall forfeit to 'the United

     States of America any property, real or personal, which constitutes or is derived from proceeds

     traceable to such violation.

            2.      Subject to forfeiture is a sum of money equal to the total' value of any property, real

     or personal, constituting or derived from any proc~eds traceable to such violation.

            3.       If any of the property described above, as a result of any act or omission of the

     defendant:

                    a.      cannot be located upon the exercise of due diligence;
                    b.      has been transferred or sold to, or deposited with,'a third party;
                    c.      has been placed beyond the jurisdiction of the court;
                    d.      has been substantially diminished in value; or                       .
                    e.      has been commingled with other property which cannot be divided without
                            difficulty,
\
     the United States of America will be entitled to the forfeiture of su5stitute property pursuant to

     Title 21, United States Code, Section 853(p).


                                                           A TRUE BILL.



                                                           FOREPERSON
     SAYLER A. FLEMING
     United States
              I
                   Attorney



     HAL GOLDSMITH, #32984(MO)
     Assistant United States Attorney




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